Case 2:05-cV-024Ol-.]DB-tmp Document 5 Filed 06/08/05 Page 1 of 2 Page|D 1

IN THE UNrrED sTATEs DISTRICT COURT r~'n_Eo er 92 D,r;,
FoR THE wEsTERN DIsTRlCT or TENNESSEE -
WESTERN DtvlsIoN 05 JUN -8 AM 9= 32
O’NEAL DANDRIDGE, aoaem' a er raouo
Plainarr, " ` " "”E"" ` `lls
v. No. 05-2401
oKAEI HOOMAN and
rosa A. BARRIGA, w
Det`endants.

 

ORDER DISMISSING ACTION WlTHOUT PREIUDICE

 

On June 6, 2005, M s_e Plaintiff, O’Neal Dandridge, submitted a filing to the Court which
stated “l am closing the complaint of 2005 June - 3 of 05-240l-BP, because we are sicl<.” After
reviewing the tiling, the Court concludes that Plaintiff is submitting a notice of voluntary dismissal
pursuant to Rule 41 (a) of the F ederal Rules of Civil Procedure. Rule 41 (a) provides that “an action
may be dismissed by the plaintiffwithout order ofcourt . . . by filing a notice ofdismissal at any time
before service by the adverse party of an answer or of a motion for summary judgment.” Fed. R.
Civ. P. 41(`a). As the Defendants have not submitted an answer nor filed a motion for summary
judgment, the Plaintiff’s notice is proper. Acoordingly, the Court DlSMISSES Plaintift`s lawsuit

without prejudice pursuant to Rule 4l(a).
IT IS SO ORDERED this f fJune, 2005.

. D`A IEL BREEN \
UNIT D sTATEs DIsrRICT JUDGE

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'ii».s aocument entered on the docket sheet in compliance
ma ama 58 and/or 79{3) FacP on " '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02401 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

O'Neal Dandridge
3120 Alta Road
l\/lemphis7 TN 3 8109

Honorable J. Breen
US DISTRICT COURT

